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                                                                                          FILED

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division                               CLERK, U.S. DISTRICT COURT
                                                                                         NORFOLK_j_VA
 BRENDA BENN,

                       Petitioner,

 V.                                                     CRIMINAL ACTION NO.2:17-cr-30(l)

 UNITED STATES OF AMERICA,

                        Respondent.

                            MEMORANDUM OPINION AND ORDER


        Before the Court are pro se litigant Brenda Benn's ("Petitioner") Motion to Vacate, Set

 Aside, or Correct a Sentence pursuant to Title 28, United States Code, Section 2255("2255

 Motion"). Having reviewed the motions and filings, the Court finds that a hearing is not

 necessary to address Petitioner's motions. See 28 U.S.C. § 2255(b). For the reasons set forth

 below. Petitioner's 2255 Motion is DENIED.

                      I.    FACTUAL AND PROCEDURAL HISTORY


        From July 2009 to February 2014,Petitioner was engaged in a conspiracy with her two

 co-defendants, Kevin and Stephanie Towns,to file fi-audulent individual income tax retums.

 ECF No. 15 at     1, 7. Petitioner was the owner and manager of A Pius Tax Service, LLC("A

 Plus") and the manager of NN Financial("NNF"). Id. at ^ 2. As the administrator of both

 companies. Petitioner "was primarily responsible for the administrative functions associated with

 operating the businesses, including, but not limited to, paying the employees, paying the

 operating costs, and entering into contracts with vendors and contractors." Id. at ^ 4. While the

 her co-conspirators were in charge of preparing the tax retums, with the help of several

 subordinate preparers. Petitioner supervised all of them in their role as employees. See id. at ^ 6.



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Petitioner and her co-defendants used various methods to enlarge individuals' tax returns and

taught these techniques to the subordinate preparers. Id. at     8-14. Petitioner also negotiated a

 contract with Santa Barbara Tax Product Group("SBTPG"), which processed the tax returns and

 would take out the fees for itself, A Plus, and NNF. Id. at ^ 15-16. During the time ofthe

 conspiracy. Petitioner's businesses processed false tax returns that totaled $1,683,159 in tax

 losses. Id. atH 17.

        On February 23, 2017, Petitioner was named in a seventeen-count Indictment that

 charged her with one count of Conspiracy to Defraud the United States, in violation of 18 U.S.C.

 § 371, and one count of Aiding the Preparation of False Tax Returns, in violation of26 U.S.C. §

 7206(2). ECF No. 1. On August 24, 2017, Petitioner pled guilty to both counts before

 Magistrate Judge Douglas Miller. ECF Nos. 50-54. In the presentence report, the probation

 officer attributed a four-level enhancement to Petitioner for being the leader of the conspiracy.

 ECF No. 77 at ^ 14. Petitioner's counsel noted an objection to this enhancement. Id. at 16.

 However,in the sentencing position paper, Petitioner's counsel did not raise this objection. ECF

 No. 80 at 2. On December 6, 2017,the Court accepted Petitioner's guilty plea as a knowing and

 voluntary plea and sentenced her to fifty-seven months ofimprisonment and to pay $1,683,159

 in restitution to the United States. ECF Nos. 82-84.

        On October 22, 2018, Petitioner filed her 2255 Motion. ECF Nos. 88-89. Petitioner

 raises three claims that her attorney was ineffective because(1)he did not move to dismiss the

 Indictment because it was past the statute of limitations;(2) he did not object to the four-level

 enhancement for a leadership role in the offense; and(3) he did not object to the loss she owes

 for restitution. ECF No. 89 at 3-6. On October 23, 2018, the Court ordered the Government to
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 respond. ECFNo.90. On December 7, 2018, the Government filed its response. ECFNo.91.

 Petitioner had an opportunity to file a reply but did not do so. See ECF No. 90.

                                 II.    LEGAL STANDARDS

    A. Section 2255


        Section 2255 allows a federal prisoner "claiming the right to be released upon the ground

 that the sentence was imposed in violation ofthe Constitution or laws ofthe United States ...[to]

 move the court which imposed the sentence to vacate, set aside or correct the sentence." 28 U.S.C.

 § 2255. In a § 2255 motion, the petitioner bears the burden of proving his or her claim by a

 preponderance of the evidence. See Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

 Additionally,pro se filers are entitled to more liberal construction of their pleadings. Erickson v.

 Pardus, 551 U.S. 89,94(2007).

        When deciding a § 2255 motion, the Court must promptly grant a hearing "unless the

 motion and the files and records of the case conclusively show that the prisoner is entitled to no

 relief." 28 U.S.C. § 2255(b). Motions under § 2255 generally "will not be allowed to do service

 for an appeal." Sunal v. Large,332 U.S. 174,178-79(1947). For this reason, issues already fully

 litigated on direct appeal may not be raised again under the guise of a collateral attack. United

 States V. Dyess, 730 F.3d 354, 360 (4th Cir. 2013). Issues that should have been raised on direct

 appeal are deemed waived, procedurally defaulted, and cannot be raised on a 2255 Motion. United

 States V. Mikalajunas, 186 F.3d 490, 492 (4th Cir. 1999). However, an individual may raise a

 procedurally defaulted claim if he/she can show(1)"cause and actual prejudice resulting from the

 errors of which he complains" or(2)that "a miscarriage ofjustice would result from the refusal of

 the court to entertain the collateral attack....[meaning] the movant must show actual innocence

 by clear and convincing evidence." Id. at 492-93.
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        To demonstrate cause and prejudice, a petitioner must show the errors "worked to [her]

 actual and substantial disadvantage, infecting [her] entire trial with error of constitutional

 dimensions." United States v. Frady,456 U.S. 152,170(1982). Ineffective assistance of counsel

 claims should generally be raised in a collateral motion instead of on direct appeal and constitute

 sufficient cause to review a procedurally defaulted claim. See Untied States v. Benton, 523 F.3d

 424,435 (4th Cir. 2008); Mikalajunas, 186 F.3d at 493.

    B. Ineffective Assistance of Counsel


        A viable ineffective assistance of counsel claim arises when "the counsel's conduct so

 undermined the proper functioning of the adversarial process that the trial did not result in a just

 outcome." Strickland v. Washington, 466 U.S. 668, 686(1984). To prove a claim of ineffective

 assistance of counsel, a petitioner must make two showings.

        First, a petitioner must show that counsel's performance was deficient. Id. at 687.

 Counsel's errors must have been so serious that he or she was not actually functioning as "counsel"

 as guaranteed by the Sixth Amendment. Id. In order to demonstrate deficient performance, a

 petitioner must show "that counsel's representation fell below an objective standard of

 reasonableness" under the prevailing norms of the legal community. Id. at 688.

        "Judicial scrutiny of counsel's performance must be highly deferential," so "a court must

 indulge a strong presumption that counsel's conduct falls within the wide range of reasonable

 professional assistance." Id. at 689. That presumption is even greater when counsel's decisions

 represent strategic, tactical decisions requiring "assessment and balancing of perceived benefits

 against perceived risks." United States v. Terry, 366 F.3d 312, 317(4th Cir. 2004). A petitioner

 bears the burden of rebutting this presumption. Strickland,466 U.S. at 689.
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        Second, a petitioner must show that the deficient performance prejudiced the defense. Id.

 at 687. In other words, counsel's errors must have been so serious that the petitioner was deprived

 of a fair trial with a reliable result. Id. To demonstrate prejudice, a petitioner must prove that

 "there is a reasonable probability that, but for counsel's unprofessional errors, the result of the

 proceeding would have been different." Id. at 694. The Supreme Court defined a reasonable

 probability as "a probability sufficient to undermine confidence in the outcome." Id. In short,

 "[a]n error by counsel, even if professionally unreasonable, does not warrant setting aside the

 judgement of a criminal proceeding if the error had no effect on the judgment." Id. at 691.

     C. Guilty Pleas' Effect on 2255 Motions and Ineffective Assistance of Counsel Claims

        Guilty pleas are "'grave and solemn act[s] to be accepted only with care and discernment.'"

 United States v. Moussaui,591 F.3d 263,278(4th Cir. 2010)(quoting Brady v. United States, 397

 U.S. 742, 748 (1970)). As such, when a defendant makes a knowing and voluntary guilty plea,

 that person '"waives all nonjurisdictional defects in the proceedings conducted prior to entry of

 the plea.'" Id. at 279(quoting United States v. Bundy,392 F.3d 641,644(4th Cir. 2004)).

        Moreover, a guilty plea generally limits collateral attacks to "whether the plea was

 counseled or voluntary." Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1295 (4th Cir. 1992)

 (citing United States v. Broce,488 U.S. 563,569(1989)). As such,a claim ofineffective assistance

 prior to the guilty plea may undermine that plea. See id. However,claims ofineffective assistance

 when there is a guilty plea on the record must meet a higher burden beyond the normal Strickland

 requirements. When there is a guilty plea, in order to satisfy the prejudice prong, a defendant must

 show that but for counsel's ineffective assistance, he would not have pled guilty and would have

 gone to trial. Meyer v. Branker, 506 F.3d 358, 369(4th Cir. 2007)(quoting Hill v. Lockhart,474

 U.S. 52,59(1985)). Furthermore, any statements made under oath are binding on the defendant,
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including any statements that confirm satisfaction of counsel. Fields, 956 F.2d at 1299 (citing

Blackledge v. Allison, 431 U.S. 63,74-75 (1977)).

                                      III.    DISCUSSION


    A. Failure to Move to Dismiss Indictment Because It Violated Statute of Limitations

        Petitioner first argues that her attomey was ineffective because he did not move to

 dismiss the Indictment against her under the theory that it violated the statute of limitations.

 ECF No. 89 at 3. She claims that her last overt act in the conspiracy was in 2011, and because

 the crime has a five-year statute oflimitations, the Indictment should have been dismissed. ECF

 No. 88 at 4,ECF No. 89 at 3.

        First, while it is true that there is a general five-year statute of limitations on federal

 crimes, 18 U.S.C. § 3282, criminal tax cases, such as filing fraudulent tax returns, are subject to a

 six-year statute of limitations. 26 U.S.C. § 6531(3). Moreover, the statute of limitations does

 not begin to run until the statutory due date, which for individual tax returns would be April 15

 of the following year. See 26 U.S.C. §§ 6072(a); 6513(a). And conspiracy to commit tax crimes

 are given the same six-year statute of limitations. See United States v. Vogt, 910 F.2d 1184,

 1201 (4th Cir. 1990)(citation omitted); United States v. Lewder,492 F.2d 953,955-56(4th Cir.

 1974), cert, denied,419 U.S. 1092(1974); see also United States v. Grimm,738 F.3d 498, 501

(2d Cir. 2013)(citation omitted). As such, Petitioner's counts are both subject to the six-year,

 rather than the five-year, statute of limitations.

         Second, Petitioner misunderstands how statute of limitations apply to conspiracy counts.

 The statute of limitations for conspiracy "runs from the last overt act during the existence ofthe

 conspiracy." Fistwick v. United States, 329 U.S. 211,216(1946)(citing Brown v. Elliott, 225

 U.S. 392,401 (1912); United States v. Head,641 F.2d 174, 177(4th Cir. 1981)(citing United
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 States V. DaviSy 533 F.2d 921,926(5th Cir. 1976)). However, the defendant does not have to be

 the one to commit the last overt act; once someone joins, he or she continues to be a member of

 said conspiracy until he or she withdraws. Smith v. United States^ 568 U.S. 106, 107(2013).

        Petitioner here does not argue that she ever withdrew from the conspiracy. Therefore, the

 last overt act of the conspiracy occurred on January 17, 2012, when Stephanie Towns prepared a

 false tax retum for the 2011 year. ECF No. 1 at 38. The statute of limitations for the

 conspiracy count began to run on April 15,2012 and expired on April 15, 2018. Because the

 Indictment was filed on February 23, 2017,this count was not barred by the statute of

 limitations.


        As for Petitioner's second count, the Indictment charges that she aided in preparing a

 false tax retum on January 19, 2011 for the year 2010. ECF No. 1 at 10-11. The statute of

 limitations began on April 15, 2011 and expired on April 15,2017. Again,the Indictment was

 filed within the statute of limitations. Therefore, Petitioner's attorney did not provide ineffective

 assistance by failing to move to dismiss the Indictment on this ground.

    B. Failure to Object to the Leadership Enhancement

        Next, Petitioner argues that her attorney "abandoned" her because he did not object to the

 four-level leadership enhancement. ECF No. 89 at 4-5. In support. Petitioner provides an email

 from her attomey stating that he would object to the enhancement on November 16,2017. ECF

 No. 89-1 at 2. The November 21, 2017 presentence report noted the attomey's objection. ECF

 No. 77 at 16. However, in the position paper, Petitioner's attomey did not object to the

 enhancement and stated:


                [Petitioner] did, initially, indicate that she objected to the four(4)
                point enhancement for her role in the offense, mainly because it is
                [her] position that her co-defendants, and specifically, Kevin
                Towns, were more culpable in the sense that Kevin Towns
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                possessed the technical knowledge necessary to carry out the
                scheme and purpose of the conspiracy, and that [Petitioner] was
                less sophisticated in this regard. While [she] continues to maintain
                this is true, she recognizes that she is just as responsible for her co-
                defendant's actions as her own and that the conduct Kevin Towns
                engaged in should have been and was actually foreseeable to her.

 ECF No. 80 at 2. Her attorney nonetheless requested a sentence for thirty-seven to forty-six

 months, which would have been the Federal Sentencing Guidelines ("Guidelines")range if she

 did not have the leadership enhancement. Id.\ see U.S.S.G. Sentencing Table. At the sentencing

 hearing, neither side objected to any parts ofthe presentence report. ECF No. 87 at 3:13-20.

        Section 3Bl.l(a)of the Guidelines provides that a defendant will receive a four-level

 enhancement if he or she "was an organizer or leader of a criminal activity that involved five or

 more participants or was otherwise extensive." This is distinct from a manager or supervisor,

 who would receive a three-level enhancement. U.S.S.G. § 3Bl.l(b). The factors used to

 distinguish these roles include:

                [T]he exercise of decision making authority, the nature of
                participation in the commission of the offense, the recruitment of
                accomplices, the claimed right to a larger share of the fhiits ofthe
                crime, the degree of participation in planning or organizing the
                offense, the nature and scope of the illegal activity, and the degree
                of control and authority exercised over others.

 Id. at cmt. n.4.


         Petitioner argues that the Government provided no evidence to support the enhancement.

 ECF No. 89 at 4-5. However, in the Statement of Facts, Petitioner admits(1)she was the owner

 and manager of A Plus and the manager of NNF,ECF No. 52 at ^ 2;(2)she was the administrator

 of both companies, which involved paying all the employees and negotiating contracts, Id. at T| 3;

(3)she supervised all the subordinate preparers. Id. at % 6;(4)she taught the subordinate preparers

 the methods she and her co-conspirators used to falsify the tax returns. Id. at T1 13; and (5) she

 contracted with SBTPG to process the tax returns and take the fees for A Plus and NNF. Id. at ^

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 15-16. Moreover,the presentence report notes that there were eight employees at A Plus and NNF

 combined. ECF No.77 at^ 11. The govemment is not required to present evidence demonstrating

 the accuracy of facts in the presentence report, and "[w]ithout an affirmative showing the

 information is inaccurate,the court is 'free to adopt the findings ofthe[presentence report] without

 more specific inquiry or explanation.'" United States v. Terry, 916 F.2d 157, 162(4th Cir. 1990)

 (quoting United States v. Mueller, 902 F.2d 336, 346(5th Cir. 1990)).

        Therefore, it is erroneous to claim that there is no factual basis for the enhancement. These

 facts are sufficient to support the four-level enhancement. As the owner and manager of A Plus

 and the manager of NNF,Petitioner had the ultimate decision-making authority in the conspiracy.

 She actively participated in the conspiracy,teaching the techniques needed to further it along. And

 as the administrator of both companies, she had control and authority over everyone else, with the

 responsibility to pay them.

        Relatedly, Petitioner also received a three-level reduction for acceptance of

 responsibility. ECF No. 77 at ^ 16. However,if Petitioner "falsely denie[d], or frivolously

 contest[ed], relevant conduct that the [C]ourt determines to be true," the Court may have found

 that such actions contradicted her acceptance of responsibility. U.S.S.G. § 3E1.1, cmt n.l(A).

 Arguably, if Petitioner attempted to argue against the leadership enhancement, in the face of

 these facts, this may have contradicted her acceptance of responsibility. Therefore, it would be a

 reasonable legal strategy to avoid undermining the acceptance of responsibility three-level

 reduction and not object to the four-level leadership enhancement. As such, her attomey's

 conduct does not constitute deficient performance under Strickland.
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      C. Failure to Object to the Amount of Loss for Restitution

          Finally, Petitioner argues that her attorney was ineffective because he did not object to

 the loss amount calculated that she must pay for restitution and that she should only pay for the

 restitution for the overt conduct directly attributed to her. ECF No. 89 at 5. This argument, too,

 is erroneous.


          Once a person joins a conspiracy, he or she is liable for all foreseeable criminal conduct

 of all other co-conspirators until he or she withdraws. United States v. Newsome,322 F.3d 328,

 338(4th Cir. 2003); see also Pinkerton v. United States, 328 U.S. 640,646-47(1946).

 Restitution is based solely "upon losses directly and proximately caused by the defendant's

 offense conduct." United States v. Squirrel, 588 F.3d 207, 215 (4th Cir. 2009)(citing 18 U.S.C.

 § 3663A(a)(l)-(2)). When there is more than one defendant,"the court may make each

 defendant liable for payment ofthe full amount of restitution or may apportion liability among

 the defendants to reflect the level of contribution to the victim's loss and economic circumstances


 of each defendant." 18 U.S.C. § 3664(h).

          Petitioner was convicted of conspiracy and was liable for all criminal conduct ofthe

 conspiracy and all restitution that flowed therefrom. See Squirrel, 588 F.3d at 207; Newsome,

 322 F.3d at 338. The Statement of Facts that Petitioner signed states that the loss amount is

 $1,683,159, which covers the entire offense conduct of the conspiracy. ECF No. 53 at ^ 17. The

 Court, in its discretion, made all three co-conspirators jointly liable for the total amount of

 restitution. ECF Nos. 66, 70, 83. Therefore, Petitioner's attorney did not fall below the

 Strickland standard by failing to object to the restitution amount.*




 'Petitioner also argues that the restitution amount should be reduced based on conduct she claims falls outside the
 statute of limitations. ECF No.89 at 5. Based on the reasoning in Part III.A,supra, the Court rejects this argument.

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                                      IV.   CONCLUSION

        For the reasons set forth above,the Court finds that it is clear from the pleadings and filings

 that Petitioner is not entitled to relief. Accordingly, Petitioner's 2255 Motion is DENIED.

        This Court may issue a certificate of appealability only if the applicant has made a

 substantial showing of the denial of a constitutional right. 28 U.S.C. § 2253(c); Fed. R. App. P.

 22(b)(1). This means that Petitioner must demonstrate that "reasonable jurists could debate

 whether... the petition should have been resolved in a different manner or that the issues presented

 were 'adequate to deserve encouragement to proceed further.'" Slack v. McDaniel, 529 U.S. 473,

 484(2000)(quoting Barefoot v. Estelle,463 U.S. 880,893,n.4(1983));see United States v. Swaby,

 855 F.3d 233, 239 (4th Cir. 2017). Petitioner's claims contradict the record and do not have any

 basis in law. As such. Petitioner fails to demonstrate a substantial showing of a denial of a

 constitutional right, and a Certificate of Appealability is DENIED.

        In addition, the Court ADVISES Petitioner that she may appeal from this final Order by

 forwarding a written notice of appeal to the Clerk ofthe United States District Court, United States

 Courthouse, 600 Granby Street, Norfolk, Virginia 23510, The Clerk must receive this written

 notice within sixty(60) days from this Order's date. The Court DIRECTS the Clerk to provide a

 copy of this Order to all Parties.



        IT IS SO ORDERED.




 Norfolk, Virgirria                                                  RaymoildA^SaS^ir
 January /O .2019




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